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 1
                                    UNITED STATES DISTRICT COURT
 2                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
 3
     UNITED STATES OF AMERICA,
 4
                            Plaintiff(s),
 5                                                                 NO. CR02-63P
            v.
 6                                                                 ORDER ON REQUEST TO RELEASE
     TAMALA NOLAND,                                                INFORMATION AND TESTIFY
 7
                            Defendant(s).
 8

 9
             The above-entitled Court, having received and reviewed the Memorandum of October 26,
10
     2005 (entitled “Request to Release Information from Defendant’s File and Request to Testify on
11
     Behalf of Prosecution”), filed by U.S. Probation Office Steven R. Gregoryk, and all exhibits and
12
     declarations attached thereto, makes the following ruling:
13
            IT IS HEREBY ORDERED that the following documents from the U.S. Probation Office file
14
     on Defendant Noland be released to the Whatcom County Prosecuting Attorney:
15
            1.      Application to Conduct Search (8/22/05)
16
            2.      Results of Search (8/23/05)
17
            IT IS FURTHER ORDERED that the U.S. Probation Officers who have been subpoenaed by
18
     the prosecution to testify in Defendant Noland’s pending Whatcom County matter be permitted to
19
     appear and testify.
20
             The clerk is directed to provide copies of this order to all counsel of record.
21
             Dated: October 28, 2005



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24                                                          Marsha J. Pechman
                                                            U.S. District Judge
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26   ORD ON REQUEST - 1
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26   ORD ON REQUEST - 2
